DATE: June 1, 2021


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Anthony Brian Barnett
             v. Commonwealth of Virginia
             Record No. 0487-20-3
             Opinion rendered by Judge O’Brien on
              April 6, 2021

          2. Jason Laufetette Brooks
              v. Commonwealth of Virginia
              Record No. 0209-20-4
              Opinion rendered by Judge Humphreys on
              April 13, 2021
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Merck &amp; Co., Inc.
   v. Merrick B. Vincent
   Record No. 0424-19-4
   Opinion rendered by Judge Huff
    on January 14, 2020
   Judgment of Court of Appeals reversed and matter remanded by
    opinion rendered on May 27, 2021 (200222)

2. Quartrez Logan, s/k/a, etc.
   v. Commonwealth of Virginia
   Record No. 1735-18-1
   En banc opinion rendered by Judge Humphreys
    on July 21, 2020
   Judgment of Court of Appeals affirmed by opinion rendered on
     May 27, 2021 (201006)

3. Paula Jo Smith
   v. Commonwealth of Virginia
   Record No. 1146-19-4
   Opinion rendered by Chief Judge Decker
     on December 1, 2020
   Refused (201573)

4. Richard Paul Stevens
   v. Commonwealth of Virginia
   Record No. 1275-19-2
   Opinion rendered by Chief Judge Decker
     on December 1, 2020
   Refused (210021)
       The Supreme Court issued opinions in the following cases, which had been appealed from
this Court

    1. Dorain Jerod Myers
       v. Commonwealth of Virginia
       Record No. 1978-18-1
       Memorandum opinion rendered by Judge Beales on December 27, 2019
       Judgment of Court of Appeals reversed and final judgment entered dismissing
        indictment by opinion rendered on May 13, 2021
       (200165)

    2. Michelina Bonanno
       v. James LeRoy Quinn, II
       Record Nos. 1247-19-4 and 2032-19-4
       Memorandum opinion rendered by Senior Judge Annunziata on June 30,2020
       Judgment of Court of Appeals affirmed by opinion rendered on May 27, 2021
       (200963)
